        Case 1:20-cv-00943-PB           Document 42        Filed 03/18/21      Page 1 of 4




            UNITED STATES DISTRICT COURT DISTRICT OF NEW HAMPSHIRE

CARL ALEXANDER COHEN,

              Plaintiff,                                           Civil Action No. 1:20-cv-00943

v.

BOSTON SCIENTIFIC CORPORATION;
REPUBLIC SURGICAL, INC.;
MEDWORX, INC.; ALEXANDRE R.
MOUCHATI; DOES 1-20, inclusive; and
DOE ENTITIES 11-20, inclusive,

                Defendants.

            PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO SERVE
             DEFENDANT ALEXANDRE R. MOUCHATI WITH PROCESS

       Plaintiff Carl Alexander Cohen, through undersigned counsel, respectfully seeks an

extension of time on the service of process deadline as to Defendant Alexander R. Mouchati, only.

In support of this motion, Plaintiff states as follows:

       LR 7.1(c) Concurrence. Defendant Boston Scientific assents to the instant motion.

Defendants Alexandre R. Mouchati, Republic Surgical, Inc., and Medworx, Inc. (each represented

by the same counsel) object to the relief sought herein.

       1.       This case was originally filed in State of New Hampshire, Strafford Superior Court

on July 23, 2020.

       2.       Plaintiff attempted service on Mr. Mouchati in August 2020, but was unable to

locate him due to a change in employment (Ex. A), and a lack of information as to his correct

identity at that time prevented discovery of an alternative service address.

       3.       This case was removed to federal court on September 10, 2020. (Doc. 1). At that

time, there were no service deficiencies in the state-court action because the state-court service
                                                                                                1
             Case 1:20-cv-00943-PB              Document 42            Filed 03/18/21           Page 2 of 4




date, also September 10, 2020 (Doc. 1-1, p. 36), had not yet expired.

         4.       A First Amended Complaint was filed November 17, 2020. (Doc. 11). Defendant

Mouchati, through counsel, filed an Answer to that First Amended Complaint on November 17,

2020. (Doc. 13).

         5.       Defendant Mouchati has fully engaged, though counsel, in every aspect of this

litigation, including participating in the Fed. R. Civ. P. 26(f) conference and in preparing the

resulting court-filed pleading (Doc. 30), serving initial disclosures (Ex. D), and propounding two

sets of discovery on Plaintiff (Exs. E and F).

         6.       On March 3, 2021, Defendant Mouchati filed a motion to dismiss based on

insufficient service of process (Doc. 36) and Plaintiff filed a response to that motion on March 17,

2021. (Doc. 39; Doc. 40).1

         7.       Fed. R. Civ. P. 4(m) provided an automatic 90 days from removal to effect service

of process. That deadline would have been December 9, 2020.

         8.       Mr. Mouchati was properly served with in-hand process on March 17, 2021. (Doc.

41).

         9.       Based on the facts of this case, as set forth fully in the accompanying memorandum

of law, Plaintiff respectfully requests that the Court extend the current service of process deadline

to March 17, 2021, the date of actual service, so that this case may proceed to trial on its merits.

         10.      This extension if time will not result in the continuance of any hearing, conference,

or the trial of this matter.

         11.      This short extension if time will not result in prejudice to any party, including

Defendant Mouchati.


         1
          Plaintiff incorporates fully herein his response to that motion to dismiss (Doc. 39; Doc. 40), as it is appliable
to this motion for extension of time.

                                                                                                                         2
        Case 1:20-cv-00943-PB       Document 42        Filed 03/18/21       Page 3 of 4




       12.    Plaintiff further relies on the accompanying Memorandum of Law and Exhibits.

       WHEREFORE, Plaintiff respectfully requests that the Court grant him an extension of

time, to March 17, 2021, to serve Defendant Alexandre Mouchati with process.

                     Respectfully submitted this 18th day of March 2020.

                                           /s/Anne M. Dieruf

                                           Jason W Jordan
                                           Anne M. Dieruf
                                           Admitted Pro Hac Vice
                                           Jordan, Herington & Rowley
                                           5445 DTC Parkway, Suite 1000
                                           Greenwood Village, CO 80111
                                           (303) 766-8153
                                           jason@jordanlaw.com
                                           anne@jordanlaw.com

                                           and

                                           Benjamin R. Novotny
                                           NH Bar ID #18041
                                           Trial Lawyers for Justice
                                           421 W. Water Street, 3rd Floor
                                           Decorah, IA 52101
                                           (563) 382-5071
                                           ben@tl4j.com
                                           and

                                           Alfred T. Catalfo, III
                                           NH Bar ID #8135
                                           Catalfo Law, PLLC
                                           466 Central Avenue, Suite 2
                                           P.O. Box 869
                                           Dover, NH 03821-0869
                                           (603) 742-7558
                                           catalfolaw@gmail.com
                                           Attorneys for Plaintiff




                                                                                             3
        Case 1:20-cv-00943-PB          Document 42       Filed 03/18/21       Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing PLAINTIFF’S MOTION FOR

EXTENSION OF TIME TO SERVE DEFENDANT ALEXANDRE R. MOUCHATI WITH

PROCESS was electronically filed using the CM/ECF system, which will send notification of

such filing to all those registered with the ECF system, including the following counsel of record:

Edward J. Sackman, NH Bar No. 19586
Lauren M. Pritchard, NH Bar No. 271587
Bernstein, Shur, Sawyer and Nelson, P.A.
Jefferson Mill Building
670 North Commercial Street, Ste. 108
P.O. Box 1120
Manchester, NH 03105
Telephone: (603) 623-8700
NSackman@BernsteinShur.com
lpritchard@bernsteinshur.com
Attorneys for Defendant Boston Scientific Corporation

Michael J. Carroll
Emily Steeb
Faegre Drinker Biddle & Reath LLP
801 Grand Avenue, 33rd Floor
Des Moines, Iowa 50309
Telephone: 312-212-6500
michael.carroll@faegredrinker.com
emily.steeb@faegredrinker.com
Attorneys for Defendant Boston Scientific Corporation

William Joseph Flanagan, #17287
MORRISON MAHONEY LLP
250 Summer Street
Boston, MA 02210-1181
Phone: 617-439-7500
jflanagan@morrisonmahoney.com
Attorney for Defendants Republic Surgical, Inc.,
Medworx, Inc., and Alexandre R. Mouchati

                                                            /s/Anne M. Dieruf
                                                            Anne M. Dieruf
                                                            Attorney for Plaintiff




                                                                                                 4
